
12 N.Y.2d 1027 (1963)
In the Matter of the Claim of Edna G. Phillips, Respondent,
v.
Spaulding Bakeries, Inc., et al., Appellants. Workmen's Compensation Board, Respondent.
Court of Appeals of the State of New York.
Submitted February 28, 1963.
Decided March 28, 1963.
Albert P. Thill for appellants.
Louis J. Lefkowitz, Attorney-General (Jorge L. Gomez, Paxton Blair and Daniel Polansky of counsel), for Workmen's Compensation Board, respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, BURKE, FOSTER and SCILEPPI. Judge VAN VOORHIS dissents and votes to reverse and to dismiss the claim upon the dissenting memorandum of Justice REYNOLDS in the Appellate Division.
Order affirmed, with costs to respondent Workmen's Compensation Board; no opinion.
